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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

TIMOTHY TIELKE AND MELISSA                          §
ANN TIELKE                                          §
                                                    §
VS.                                                 §                      CA NO.: 4:17-CV-02609
                                                    §
THE BANK OF NEW YORK MELLON,                        §
AS TRUSTEE FOR CWABS, INC.,                         §
ASSET-BACKED CERTIFICATES,                          §
SERIES 2003-3, NATIONSTAR                           §
MORTGAGE, LLC, AND BARRETT,                         §
DAFFIN, FRAPPIER, TURNER &                          §
ENGEL, LLP                                          §

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs, TIMOTHY TIELKE AND MELISSA TIELKE, by and through their counsel of

record, hereby stipulate that all claims by them, against Defendants, The Bank of New York Mellon,

as Trustee for CWABS, Inc., Asset-Backed Certificates, Series 2003-3 and Nationstar Mortgage,

LLC, in the above-styled action be dismissed with prejudice and that each of the parties pay their

respective fees and costs.

                                                    THE TREVIÑO LAW FIRM
                                                    By:_____ /s/ Lu Ann Treviño ___________
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                                                   By:______/s/ Elizabeth Chandler__________
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                                                   ATTORNEY FOR DEFENDANTS
                                                   THE BANK OF NEW YORK MELLON
                                                   AND NATIONSTAR MORTGAGE LLC
                                                   D/B/A MR. COOPER

                                CERTIFICATE OF SERVICE

This is to certify that on this 25th day of March 2019, a true and correct copy of the foregoing
document has been delivered to all parties via ECF.

                                            ____/s/ Lu Ann Treviño___________
                                            Lu Ann Treviño
